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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       )       Bankr. No. 21-10069-TPA
                                             )
MENDY LYNNE GARDUNO                          )
                                             )
                      Debtor.                )       Chapter 7
                                             )
MENDY LYNNE GARDUNO                          )       Adv. Pro. No. 21-01008-TPA
                                             )
                      Plaintiff/Debtor,      )       Doc. No.
                                             )
                      vs.                    )       Hearing:
                                             )
U.S. DEPARTMENT OF EDUCATION                 )
                                             )
                      Defendants.            )


                       JOINT STIPULATION AND SETTLEMENT
                      AGREEMENT AS TO STUDENT LOAN DEBT

      The United States of America, on behalf of the United States Department of Education

(“Education”), by and through its counsel, Stephen R. Kaufman, Acting United States Attorney

for the Western District of Pennsylvania, and Jill L. Locnikar, Assistant United States Attorney,

and Mendy Lynne Garduno by and through her counsel, Mark T. Aaron, hereby stipulate to

resolve the pending adversary proceeding on the following terms:

      1. Plaintiff agrees that, on or about January 5, 2017, Plaintiff obtained two Federal Direct

Consolidation Loan disbursements from Education under the William D. Ford Federal Direct

Consolidation Loan Program (“Direct Loan). The total amount disbursed on the first loan was

$40,435.33, and the amount due as of April 21, 2021 is $47,169.21. The total disbursed on the

second loan was $108,878.53, and the amount due as of April 21, 2021 is $127,010.67. The

interest rate for both loans is 5.25%. The total due on both loans as of April 21, 2021 is

$174,179.88 (“Federal Student Loan Debt”).

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        2.      Debtor filed the instant adversary case on December 10, 2020.

        3.      The United States filed its answer on April 23, 2021.

        4.      Plaintiff and Defendant dispute the dischargeability of the aforesaid student loans

pursuant to 11 U.S.C. § 523(a)(8), and the parties enter into this Joint Stipulation and Settlement

Agreement (the “Settlement Agreement”) voluntarily to avoid both the costs and risks inherent in

continuing to litigate this matter.

        5.      To settle all issues in dispute, the parties agree that Plaintiff shall make all required

payments in accordance with the below stated terms, commencing with the execution of this

agreement according to the terms set for below:

                a.      Plaintiff agrees to make monthly payments to Education in the amount of

                        Three Hundred twenty-nine dollar and 90 cents ($329.90) for a term of 240

                        consecutive months commencing thirty (30) days after the Court’s approval

                        of this Agreement.

                b.      Plaintiff will make all payments required in a timely manner, such that the

                        monthly payments are received no later than the 30th day of each month.

                c.      Payments will be mailed to U.S. Department of Education/DMCS, P.O. Box

                        790336, St. Louis, MO 63179-0336, or any updated address when notified

                        by Defendant, and will include the Plaintiff’s social security number to

                        insure proper credit of the payments.

        6.      After all payments have been made pursuant to this agreement, any remaining

balance shall be deemed discharged in bankruptcy pursuant to 11 U.S.C. §727.

        7.      In the event of a default, as defined below, the Federal Student Loan Debt shall

become due and payable, together with any interest as may have accrued as if this Agreement had

never taken effect.

        Definition of Default. An “event of default” shall mean any of the following:
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               a.        Plaintiff fails to materially comply with any term of this Agreement;

               b.        Plaintiff fails to make two (2) consecutive monthly installment
                         payments by no later than the date the second consecutive monthly
                         instalment payment is due; or


               c.        Plaintiff fails to cure, on or before the twentieth (20th) business day
                         after the date of a written demand on such Plaintiff (as counted from
                         the date such demand is placed in the mail or transmitted by
                         electronic or other means), any past-due payment under this
                         Agreement.

      8. In the event of a default, as defined above, any forgiveness of the principal and

interest as set forth in ⁋ 6 is revoked, and Plaintiff will be liable for the full amount of the

outstanding balance, plus interest pursuant to applicable terms of Plaintiff’s promissory notes.

       9.      Nothing in this Settlement Agreement is intended to or does preclude Plaintiff from

entering into any economic hardship, forbearance, deferment, or other repayment program

currently offered, or which may be offered in the future, by Education to borrowers for which

Plaintiff may qualify.

       10.     The terms of this Settlement/Stipulation shall survive and be effective in any future

bankruptcy filing under any chapter of the United States Bankruptcy Code.

       11.     The parties agree each party will be responsible for their own attorney’s fees and

costs incurred in this matter.

       12.     This Settlement Agreement shall be binding on any successors of Education or any

other assignees of the Student Loan Obligation.

       13.     Payments made pursuant to the Settlement Agreement and Stipulation shall be

made in accordance with any payment method provided by the Plaintiff’s loan service provider.

       14.     This Settlement Agreement is subject to the approval of the Bankruptcy Court. In

the event the Bankruptcy Court declines to approve this Settlement Agreement, it shall be null and

void, with no force and effect.

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         15.   Plaintiff and Defendant understand and agree that this Settlement Agreement

contains the entire agreement between them, and that any statements, representations, promises,

agreements, or negotiations, oral or otherwise, between the parties or their attorneys that are not

included herein shall be of no force and effect.

         16.   If any one or more terms or provisions of this Settlement Agreement is/are held to

be unenforceable, the remaining terms and provisions shall remain in full force and effect and shall

be construed as if the unenforceable provisions had never been contained in the Agreement.

         17.   Pursuant to Federal Rule of Bankruptcy Procedure 7041 and Federal Rule of Civil

Procedure 41(a), the Adversary Proceeding shall be dismissed with prejudice.

                                                       Respectfully submitted,

                                                       STEPHEN R. KAUFMAN
                                                       Acting United States Attorney


Dated:                                                 BY: /s/ Jill Locnikar
                                                       JILL L. LOCNIKAR
                                                       Assistant United States Attorney
                                                       Joseph F. Weis, Jr. United States Courthouse
                                                       700 Grant Street, Suite 4000
                                                       Pittsburgh, PA 15219
                                                       Tel: (412) 894-7429
                                                       Email: jill.locnikar@usdoj.gov
                                                       PA ID No. 85892
Consented to by:

/s/ Mark T. Aaron
Mark T. Aaron
434 Wood Street
Clarion, PA 16214
814-229-4825
maaronlaw@gmail.com
On behalf of Plaintiff/Debtor


                       IT IS SO ORDERED,


                       ________________________________, J.
                                                   4
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MENDY LYNNE GARDUNO                                )
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                          Debtor.                  )       Chapter 7
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MENDY LYNNE GARDUNO                                )       Adv. Pro. No. 21-01008-TPA
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                          Plaintiff/Debtor,        )       Doc. No.
                                                   )
                          vs.                      )       Hearing:
                                                   )
U.S. DEPARTMENT OF EDUCATION                       )
                                                   )
                          Defendants.              )


                                      CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the within Joint Stipulation and Settlement

Agreement As To Student Loan Debt was served by electronic filing and/or first-class mail, postage pre-

paid, this 17th day of September 2021, to and upon:

Service by Electronic Notification:

Mark T. Aaron
434 Wood Street
Clarion, PA 16214
814-229-4825
maaronlaw@gmail.com

Service by First Class:

Mendy Lynne Garduno
495 Railroad Street
Clarion, PA 16214


                                                           /s/ Jill Locnikar
                                                           JILL L. LOCNIKAR
                                                           Assistant United States Attorney


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